Case 8:02-cr-00145-GLT Document9 Filed 06/10/02 Pagelofi Page ID#:1

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA ¥ P-Send

CRIMINAL MINUTES - ARRAIGNMENT

 

 

 

 

CASENUMBER: 8? 2 - CR~-145 TAPE NUMBER: SAO2-\717 pate: June 10, 2002
PRESENT: THE HONORABLE MARC L. GOLDMAN , U.S. MAGISTRATE JUDGE
COURT CLERK; TERRI STEELE ASSISTANT U.S. ATTORNEY: RICHARD LEE

COURT CLERK: ASSISTANT U.S. ATTORNEY:

 

 

INTERPRETER / LANGUAGE: N/a

 

 

 

 

 

 

 

 

 

 

UNITED STATES OF AMERTCA ATTORNEYS PRESENT FOR DEFENDANTS:
Vv. FRED FRIEDMAN, Spec Appearing
1. MARK GOLDSTEIN 1.

IX] present [_]custooy [] Bonn [XX] summons Present [_]cJA [-]ReTAINED  [_| DFPD
(present L] custopy []pBonp [] summons ~~ F]PRESENT [Jc [_]rerainep ["] prep
EJ present [J custooy [-]sonp [_] summons PRESENT [Jcsa (J retaineo = [_] oreo
"PRESENT f]}custopy [] pono [| suMMoNs _ Lleresent [Jove {]retaineo [_]orpo

 

PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE.
Court orders counsel appointed. L] Possible contribution ordered. C] Filed Waiver of Indictment

& O

Defendant is arraigned and states true name is as charged [_]
(-] Defendant is arraigned as:

 

 

Defendant is given a copy of the [_]
(¥] Indictment [7] Information, acknowledges receipt of a copy and waives reading thereof.

 

Defendant consents to be tried by a U.S. Magistrate Judge and waives trial by jury and case is ordered assigned to
Magistrate Judge for plea and all further proceedings.

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Court orders this case assigned to the calendar of U.S. District Judge, for plea
(_] of guilty LJ trial setting; and all further proceedings L

 

 

 

 

Defendant pleads not guilty to all counts of the L]

IX] Indictment L] Informationas charged. [1] Court orders this case assigned to the calendar of
GARY L. TAYLOR , U.S. District Judge, and further orders jury trial set for
AUGUST 6, 2002 at_ 8:30 a.m. . Defendant and his counsel are ordered to appear before

said judge at the date and time indicated.

L_] Court orders notice to counsel and discovery and inspection order issued.
(X] Defendant's first appearance; Defendant posts a [X] $ 5,000.00 unsecured Appearance Bond;

(_] Personal Recognizance Bond. Court orders Defendant to report to the U.S. Marshal's Office forthwith for processing.
I] Other: Bond conditions include - PSA supervision; travel restricted to CDC,

unless prior approval is eERFER ON ICMS

X) Trial estimate 1-2 days JUN 1 1
(M] Status Conference [] Pre-Trial Conference /\ Mai hdarlng pave is set for! JULY 22, 2002 @ 2:00pm

 

 

 

 

 

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cc: __CIJA Supv. Attorney ¥ PSA _\Statistics Clerk _ USM ED USM LA USM SA

CR-85 (05/02) CR = O

 

 

 
